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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


 UNITED STATES OF AMERICA,                                    CASE NO. 19-CR-20141-JLK-2

                Plaintiff,

 vs.

 VICTOR ROJAS,

             Defendant,
 ______________________________/


                         DEFENDANT, VICTOR ROJAS’
       NOTICE OF FILING CORRESPONDENCE FROM THE DEFENDANT’S PRIOR
       EMPLOYER IN SUPPORT OF DEFENDANT’S MOTION FOR A DOWNWARD
          VARIANCE PURSUANT TO THE TITLE 18 U.S.C. §3553(a) FACTORS

         COMES NOW the Defendant, VICTOR ROJAS, by and through his undersigned

 counsel, and presents herewith, his Notice of Filing Correspondence from Defendant’s Prior

 Employer in Support of Defendant’s Motion for a Downward Variance pursuant to the Title 18

 U.S.C. §3553(a) Factors, and states as follows:

        • Attached hereto is correspondence from Rapid Park, the Defendant’s former
          employer, expressing in-part as follows:

            “Mr. Rojas was a Manager of several Rapid Garages in New York City from
            09/13/2010 to 09/17/2018. Mr. Rojas had resigned to pursue a different
            career but we were able to require him to continue working for us as a
            Manger. Mr. Rojas was one of our elite employees, he was smart, courteous
            and very understanding to our customers. I will recommended Mr. Rojas
            for any new endeavors.”
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                                                       Respectfully submitted,

                                                       Ana M. Davide, Esq.
                                                       Florida Bar No. 875996
                                                       2929 SW 3rd Ave., Suite 420
                                                       Miami, Florida 33129
                                                       Telephone: (305) 854-6100
                                                       Fax: (305) 854-6197
                                                       E-mail: ana@anadavidelaw.com
                                                       (Counsel for Defendant, Victor Rojas.)

                                                       /s/ Ana M. Davide_____
                                                       Ana M. Davide, Esq.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 14th day of August, 2020, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 attached service List in the manner specified, either via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those counsel or parties who are

 not authorized to receive electronically Notices of Electronic Filing.

                                                       Ana M. Davide, Esq.
                                                       Florida Bar No. 875996
                                                       2929 SW 3rd Ave., Suite 420
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                                                       Telephone: (305) 854-6100
                                                       Fax: (305) 854-6197
                                                       E-mail: ana@anadavidelaw.com
                                                       (Counsel for Defendant, Victor Rojas.)

                                                       /s/ Ana M. Davide_____
                                                       Ana M. Davide, Esq.




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                                      SERVICE LIST

                          United States of America v. Victor Rojas
                                Case No. 19-CR-20141-JLK-2
                  United States District Court, Southern District of Florida

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                           oration
 204 West 101st Street
 New York, NY 10025
 www.rapidparknyc.com




 August 14, 2020




                                          To Whom It May Concern:




                           SUBJECT: Rojas, Victor (Social Security#            )

 This letter is in reference to Victor Rojas, Social Security#         . Mr. Rojas was a Manager of
 several Rapid Garages in New York City from 09/13/2010 to 09/17/2018.

 Mr. Rojas had resigned to pursue a different career but we were able to require him to continue working
 for us as a Manger.

 Mr. Rojas was one of our elite employees, he was smart, courteous and very understanding to our
 customers. I will recommended Mr. Rojas for any new endeavors.

 If you need further assistance, please feel free to call me@ (212)866-1000.




 Sincerely,




  Monika Deonarain
 President
